            Case 2:11-cr-00296-WBS Document 300 Filed 09/07/16 Page 1 of 2


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5    SANDRA HERMOSILLO

6

7                          IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             )    2:11-CR-00296 WBS
                                           )
11                            Plaintiff,   )    STIPULATION AND ORDER
                                           )    TO ALLOW DEFENDANT TO TRAVEL TO
12   v.                                    )    MEXICO TO VISIT HER FATHER
                                           )
13                                         )
     SANDRA HERMOSILLO,                    )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                       STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Brian Fogerty, and Defendant, Sandra
19
     Hermosillo, by and through her counsel, Erin J. Radekin, hereby stipulate
20
     that Ms. Hermosillo may, with the permission of her pretrial services
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     officer, and pursuant to such conditions as required by her pre-trial
22
     services officer, travel to Mexicali, Mexico at any time between the dates
23
     September 12 and September 20, 2016 to visit her father, who resides in
24
     Mexicali, Mexico.
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           Ms. Hermosillo has traveled to Mexico to visit her father on five prior
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     occasions while on pretrial release in this case, and there have been no
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     reported violations of the court-imposed travel conditions.     Her father is
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                              Stipulation and [Proposed] Order - 1
               Case 2:11-cr-00296-WBS Document 300 Filed 09/07/16 Page 2 of 2


 1   elderly and has multiple health problems, and he has not been feeling well

 2   lately.    His birthday is on September 14, 2016.   Ms. Hermosillo wishes to

 3   visit her father to be with him on his birthday, and to assist with his care

 4   and support him during his current illness.

 5            It is further stipulated that pretrial services shall return Ms.

 6   Hermosillo’s passport to her on the date of the filing of the proposed order

 7   to permit Ms. Hermosillo to travel to Mexico on or after September 12, 2016.

 8   Ms. Hermosillo must return to the United States by September 20, 2016 and

 9   must check in with and surrender her passport to her pretrial services

10   officer on the next day, September 21, 2016.

11            Accordingly, the parties respectfully request the Court adopt this

12   proposed stipulation.

13   IT IS SO STIPULATED.

14   Dated: September 6, 2016               PHILLIP A. TALBERT
                                            Acting United States Attorney
15
                                      By:    /s/ Brian Fogerty
16                                          BRIAN FOGERTY
                                            Assistant United States Attorney
17

18
     Dated: September 6, 2016                /s/ Erin J. Radekin
19                                          ERIN J. RADEKIN
                                            Attorney for Defendant
20                                          SANDRA HERMOSILLO

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22   IT IS SO ORDERED.

23   Dated:    September 6, 2016

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                                Stipulation and [Proposed] Order - 2
